      Case 4:01-cr-00212-DPM       Document 1032        Filed 12/10/09   Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION


UNITED STATES OF AMERICA

vs.                                     NO. 4:01CR00212-016 SWW

JAMES R. HENDERSON, JR.

                                           ORDER

       The above entitled cause came on for hearing on government’s motion to

revoke the supervised release previously granted this defendant in the United

States District Court for the Eastern District of Arkansas.              Based upon the

admissions of defendant, the Court found that defendant has violated the

conditions of his supervised release without just cause.

       IT IS THEREFORE ORDERED AND ADJUDGED that the supervised release previously

granted this defendant, be, and it is hereby, revoked granting government’s

motion [doc #1015]; and that defendant shall serve a term of imprisonment of

TWENTY-ONE (21) MONTHS in the custody of the Bureau of Prisons. The Court

recommends that defendant participate in residential or non-residential

substance abuse treatment.

       There will be NO supervised release to follow.

       IT IS FURTHER ORDERED that the U. S. Marshal take the defendant into

custody until electronic       monitoring can be effectuated by the U. S.

Probation   Office   at    which    time    the     defendant   is   released   on     home

detention with electronic monitoring pending report date to the U. S.

Marshal’s Office by noon on Tuesday, January 19, 2010. The cost of such

monitoring shall be paid by the United States Probation Office.

       IT IS SO ORDERED this 10th day of December 2009.

                                                   /s/Susan Webber Wright

                                                   United States District Judge
